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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT NEW JERSEY




     IN RE JOHNSON & JOHNSON TALCUM
     POWDER PRODUCTS MARKETING,                               MDL NO. 16-2738 (MAS) (RLS)
     SALES PRACTICES, AND PRODUCTS
     LIABILITY LITIGATION




             NOTICE OF ORAL AND VIDEOTAPED DEPOSITION OF PAUL HESS
                          AND SUBPOENA DUCES TECUM

           PLEASE TAKE NOTICE that, pursuant to Federal Rules of Civil Procedure 45(a) and

    30(b), Defendants will take the deposition upon oral examination of Paul Hess. The deposition

    will commence on May 29, 2024 at 9:00 am ET at King & Spalding LLP, 1180 Peachtree St.,

    Suite 1600, Atlanta, GA 30309. The deposition will take place before a court reporter authorized

    to administer oaths, pursuant to Federal Rule of Civil Procedure 28. The deposition will be

    recorded on video as well as by ordinary stenographic means. This deposition is being taken for

    the purposes of discovery, for use at trial, or for such other purposes as are permitted under the

    Federal Rules of Civil Procedure and other applicable rules.

           Pursuant to Federal Rule of Civil Procedure 30(b)(2), the witness is requested to produce

    true, correct and complete copies of all documents, materials and information listed in Schedule

    A, no later than two (2) weeks prior to his deposition.
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    DATED: April 22, 2024                   Respectfully submitted,

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                                            Management, LLC




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                                             SCHEDULE A

                                             DEFINITIONS

           The following definitions apply to this Notice of Deposition and are deemed incorporated

    into each document request listed below:

           1.      “You” and “Your” or “witness” shall mean the deponent.

           2.      The term “Talc Products” shall refer to Johnson’s® Baby Powder and Shower to

    Shower® cosmetic talc products sold in the United States.

           3.      The term “Talc” shall refer to any talc used in the Talc Products.

           4.      The term “Talc Litigation” shall mean the above-captioned Multidistrict Litigation

    proceeding (“MDL”) and/or any claims or lawsuits involving Talc Products.

           5.      The term “Document” shall be synonymous in meaning and equal in scope to the

    usage of the term “documents or electronically stored information” in Fed. R. Civ. P. 34(a)(1)(A).

    A draft or non-identical copy is a separate document within the meaning of this term.

           6.      The terms “and,” “or” and “and/or” shall be construed either disjunctively or

    conjunctively as necessary to bring within the scope of the discovery request all responses that

    might otherwise be construed to be outside the scope.

           7.      “Your Former Laboratory” shall mean Materials Analytical Services (“MAS”) at

    3945 Lakefield Ct, Suwanee, GA 30024.




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                                 DOCUMENTS TO BE PRODUCED

           1.      A complete and current copy of Your curriculum vitae (CV) or resume.

           2.      Any and all Documents and/or Communications (including but not limited to text

    messages) between You and Dr. William Longo, any employee at MAS, or anyone acting on behalf

    of MAS related to Your Former Laboratory’s methodology, processes, standard operating

    procedures (“SOPs”), laboratory standards, data, documentation, calculations, or results of its

    polarized light microscopy (“PLM”) preparations of cosmetic talc for the subsequent analysis for

    the presence of chrysotile during the time that you were employed by MAS.

           3.      Any and all Documents and/or Communications (including but not limited to text

    messages) between You and Dr. William Longo, any employee at MAS, or anyone acting on behalf

    of MAS related to Your Former Laboratory’s methodology, processes, SOPs, laboratory standards,

    data, documentation, calculations, or results of its PLM preparations of cosmetic talc for the

    subsequent analysis for the presence of chrysotile after the time that you were employed by MAS.

           4.      Any and all Documents and/or Communications (including but not limited to text

    messages) between You and Dr. William Longo, any employee at MAS, or anyone acting on behalf

    of MAS related to Your Former Laboratory’s methodology, processes, SOPs, laboratory standards,

    data, documentation, calculations, or results of its PLM analyses of cosmetic talc for the presence

    of chrysotile during the time that you were employed by MAS.

           5.      Any and all Documents and/or Communications (including but not limited to text

    messages) between You and Dr. William Longo, any employee at MAS, or anyone acting on behalf

    of MAS related to Your Former Laboratory’s methodology, processes, SOPs, laboratory standards,

    data, documentation, calculations, or results of its PLM analyses of cosmetic talc for the presence

    of chrysotile after the time that you were employed by MAS.




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           6.      Any and all Documents and/or Communications (including but not limited to text

    messages and e-mails) between You and any other person or entity related to Your Former

    Laboratory’s methodology, processes, SOPs, laboratory standards, data, documentation,

    calculations, or results of its PLM preparations of cosmetic talc for the subsequent analysis for the

    presence of chrysotile.

           7.      Any and all Documents and/or Communications (including but not limited to text

    messages and e-mails) between You and any other person or entity related to Your Former

    Laboratory’s methodology, processes, SOPs, laboratory standards, data, documentation,

    calculations, or results of its PLM analyses of cosmetic talc for the presence of chrysotile.

           8.      Any and all Documents and/or Communications (including but not limited to text

    messages) between You and Dr. William Longo, any employee at MAS, or anyone acting on behalf

    of MAS related to Your departure from MAS in 2023.

           9.      Any and all Contracts entered into between You and Your Former Laboratory

    related to Your departure from MAS in 2023.




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